                 IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,           )
                                    )
              Plaintiff,            )
                                    )
              v.                    )               Case No.: 3:15-cv-243 (MPS)
                                    )
DIANE M. GARRITY, PAUL G.           )
GARRITY, JR., AND PAUL M.           )
STERCZALA, as fiduciaries of        )
the Estate of Paul G. Garrity, Sr., )
deceased,                           )
                                    )
              Defendants.           )               April 25, 2019
____________________________________)


                                    NOTICE OF APPEAL

       The defendants Diane M. Garrity, Paul G. Garrity, Jr., and Paul M. Sterczala, as fiduciaries

of the Estate of Paul G. Garrity, Sr., hereby give notice and appeal to the United States Court of

Appeals for the Second Circuit from the Amended Judgment filed and entered on March 5, 2019

(Doc. 211), the Order filed and entered on February 28, 2019 (Doc. 210) granting the plaintiff

USA’s motion to alter judgment and denying the defendants’ motion to alter and reduce judgment,

the earlier Judgment filed and entered on June 13, 2018 (Doc. 181) in accordance with the jury’s

verdict of June 13, 2018 (Doc. 179), and all other opinions, orders, and rulings subsumed therein

or made prior thereto.
                              DEFENDANTS

                              DIANE M. GARRITY,
                              PAUL G. GARRITY, JR., and
                              PAUL M. STERCZALA, as fiduciaries of
                              the Estate of Paul G. Garrity, Sr., deceased


Dated: April 25, 2019   By:   /s/ Jeffrey R. Babbin
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of April, 2019, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing

will be sent to all parties by operation of the Court’s electronic filing system and by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.



                                                      /s/ Jeffrey R. Babbin
                                                      Jeffrey R. Babbin

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